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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


NOAH BEVERLY,

                Petitioner,


        vs.                                              CASE NO. 2:05-cv-735
                                                         CRIM. NO. 2:99-cr-104(2)
                                                         JUDGE GRAHAM
                                                         MAGISTRATE JUDGE KING

UNITED STATES OF AMERICA,

                Respondent.


                                       ORDER and
                              REPORT AND RECOMMENDATION

        On October 25, 2005, the Court granted respondent’s request to hold the instant motion to

vacate, set aside, or correct sentence pursuant to 28 U.S.C. §2255 in abeyance pending submission

of petitioner’s written waiver of his attorney client privilege, so that respondent could obtain an

affidavit from defense counsel to respond to petitioner’s allegations. Petitioner was directed to

submit a written waiver of his attorney client privilege as it relates to the claims raised in this action

within ten days and was advised that his failure to do so could result in dismissal of this action. Doc.

No. 165. In a notice filed on October 31, 2005, however, petitioner declined to waive his attorney

client privilege because he “takes the position this request by the Government is merely an attempt

by the Government in securing more time in answering petitioner’s substantial constitutional

claims.” See Doc. No. 170. To date, petitioner has failed to file a written waiver of his attorney

client privilege.

        The Magistrate Judge therefore RECOMMENDS that claim four, in which petitioner asserts
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that he was denied the effective assistance of counsel when his attorney failed to pursue a plea

agreement and failed to discuss with petitioner the benefits of pleading guilty as opposed to going

to trial be DISMISSED.

               [L]itigants cannot hide behind the privilege if they are relying upon
               privileged communications to make their case. "[T]he attorney-client
               privilege cannot at once be used as a shield and a sword." United
               States v. Bilzerian, 926 F.2d 1285, 1292 (2d Cir.1991).

In re Lott, 424 F.3d 446, 452-454 (6th Cir. 2005); see also Mason v. Mitchell, 293 F.Supp.2d 819,

823-24 (N.D. Ohio 2003).

       Respondent is DIRECTED to file a return of writ regarding the remainder of petitioner’s

claims within twenty (20) days of the date of this order.

       IT IS SO ORDERED.



November 30, 2005                                            s/Norah McCann King
                                                               Norah McCann King
                                                            United States Magistrate Judge




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